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                      Exhibit S

                       REDACTED
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                               REVIEW PROTOCOL UPDATES AND CHANGES
                                        for the week ending Friday, September 14

      First Level Review

      Responsiveness

      •                                      docs responsive if they went to/came from/cc'd the
                                 (as opposed to just from the                    ). And remember that
                the expansion of                coding only applies as to docs concerning the
                          . (9/5/12)

      •                                            documents involving                 that went to the
                                        are responsive as        are also known as             (9/11/12)

      •                                  If it doesn't concern one of our              then it's non-
                responsive. (9/7 /12)

      •                Revisited: Several people came across large                         pertaining to
                                      . Andrew said that these appear to be non-responsive
                documents. (9/13/12) Here are some snippets in case you didn't see the examples that
                were circulated earlier:




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      Privilege

      •         Broken Priv: If you see a document where it's obviously that priv has been broken, you
                no longer have to tag it as priv. For example, if you come across an email that went
                outside ofthe                   or their attorneys and consultants (and are sure that priv
                was broken) then you can skip the priv tag. (9/4/12)


      MISC

      •         .JARjiles: If you come across these files you can review these documents as normal as
                they are similar to .zip files. (9/11/12)

      •         NSF Emails: If you see a bare looking email, or a lot of space between entries, these are
                probably Lotus Notes emails. These emails have been tagged ''NSF Emails" in a field
                called "NSF Emails." Ifyou switch to ''Native View" or "Extended Text" you can see
                the entire email. Along those same lines, ifyou're having trouble viewing documents try
                using the extracted view or native view before tagging the document "Technical Issues."
                (            9/14/12)




      •         Side Projects: Alert Andrew if you get asked to work on a side project, unless he's
                already cc'd in the email. (8/29/12)

      •         Email: And don't forget to check your QE email at least once an hour. (8/29/12)

      •         Review Center hours: Going forward, the review center's hours will return to our original
                hours:
                       Monday- Friday: 8:30AM-8:00PM
                       Saturday: CLOSED




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                              REVIEW PROTOCOL UPDATES AND CHANGES
                                      for the week ending Wednesday, August 29

      First Level Reviewers

      Responsiveness

      •         Documents containing communications with the                     that show the       were
                getting information about the                                    should be shared with
                the team.

      Privilege

      •         A privileged document that is sent to a consultant working for the      should be tagged
                Privileged.




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                              REVIEW PROTOCOL UPDATES AND CHANGES
                                      for the week ending Wednesday, August 22


      First Level Reviewers

      Responsiveness

      •         Discussions about doing a               of one of our               are Responsive.

      •                       documents are Non-Responsive unless they relate to the          litigations,
                then they are Responsive. If you're not sure, then call it Responsive.

      •                       documents discussing             are Responsive- even ifthe
                being discussed is not an         of any of our             .

      Confidentiality

      •         Documents containing personal information about
                       , should be tagged Highly Confidential.

      Technical

      •         If you see a document with a "Production" radio button on the top of the screen (next to
                the "Viewer", "Native", and "Image" buttons) let Andrew or a second level reviewer
                know immediately.

      •         .CAD, .CAS, .NEX, and other files with unusual extensions that will not open in
                Relativity should be tagged Technical Issues.

      •         We will now be reviewing documents from               . We are currently out of
                batches from the                       , though more pre-     batches are being
                prepared.




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                              REVIEW PROTOCOL UPDATES AND CHANGES
                                      for the week ending Wednesday, August 15

      First Level Reviewers

      Responsiveness

      •         Documents that contain settings for computer programs found in the files of a
                                person may be Responsive. Similar documents found in the files of a
                             person are Non-Responsive if they do not concern              .

      •         For communications between the                             , we are specifically
                interested in any private communications about the                          .
                Discussions about the                are Responsive, but would not be particularly
                interesting. However, please let us know if you find information about the
                                        .

      Privilege

      •         Drafts of 1OKs and drafts of 1OQs should be tagged Privileged if they include a
                discussion of the                                      If they do not include a discussion
                of the                                    then they are Non-Responsive.

      Technical

      •         Interesting and Key tags should be used to tag documents that would be useful in
                deposition preparation and/or should be brought to the associates' attention. Please use
                these tags only to identifY crucial documents.

      •         The custodian named "                            " is a          LAN. In your billing
                description, you can call this custodian "                       ".

      •         If a document is not opening in viewer mode, you can select the dropdown were it says
                "Draft" and select ''Normal", this will show the main body of the document. When you
                select "Preview" this will try to pull in all of the data.




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                              REVIEW PROTOCOL UPDATES AND CHANGES
                                      for the week ending Wednesday, August 8

      First Level Reviewers

      Broadening Responsiveness

      •         If a                        looks like it could be one of ours, no need to look it up, just
                mark it Responsive.

      •         When you see an            , mark it Responsive regardless of whether it is one of our
                    or otherwise. These documents are Responsive regardless of their date (i.e.,
                documents are Responsive).

      •         Documents that discuss       generally, even if they do not relate to a specific      are
                Responsive.

      •         Public newsletters discussing the                                 (from        , consultants,
                news sources) are Responsive.



      •                       documents concerning               should be marked Responsive if they
                went to      decision-makers or if they went to the members of the                 with
                oversight responsibilities for      The relevant               members are:




      •                       documents that are Non-Responsive no longer need to be tagged


      Specific to an Individual or Entity

      •


      •




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      •




      Privilege

      •         Use discretion marking documents Privileged. But, if a document has "a hint" of
                privilege, mark it Privileged. It is better to over-privilege at this stage than under-
                privilege. All documents marked Privileged will be re-reviewed later.

      •         People with /LEGAL/ in their email address should be treated as attorneys.

      Technical

      •         Documents from          and later are no longer going to be reviewed.

      •         Documents whose native files end with .mdb or .snp cannot be viewed and should be
                marked Tech Issue.

      •         Review batches may contain documents from more than one custodian.




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